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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                           July 07, 2020
                            UNITED STATES DISTRICT COURT
                                                                                        David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
         Plaintiff,                               §
VS.                                               § CIVIL ACTION NO. 7:19-cv-00234
                                                  §
30.00 ACRES OF LAND, MORE OR                      §
LESS, and VERONICA MENDOZA,                       §
                                                  §
         Defendants.                              §

                                              ORDER

         The Court now considers the “Joint Motion for Order Establishing Distribution of Funds

on Deposit in the Registry of the Court, and Closing Case.”1 On June 9, 2020, this Court entered

an order holding that $100 was just compensation in this land condemnation case and ordering

the parties to “to file dismissal documentation requesting the Court disperse the $100 deposited

just compensation.”2 The instant joint motion is that dismissal documentation. The joint motion

requests the Court enter an order that disburses the $100 in the Court’s registry as just

compensation and closes this case.3 The Court will do so.

         Accordingly, the Court ORDERS that the $100 in the Court’s registry4 be disbursed to

Defendant Veronica Mendoza as just compensation in this case, together with any interest earned

while on deposit.5 In accordance with the parties’ joint motion,

         In the event that any other party is ultimately determined by a court of competent
         jurisdiction to have any right to receive compensation for the Estate in the Subject
         Property, the Defendant, shall refund into the Registry of the Court the
         compensation distributed herein, or such part thereof as the Court may direct, with

1
  Dkt. No. 31.
2
  Dkt. No. 30.
3
  Dkt. No. 31 at 2, ¶ 4.
4
  See Dkt. No. 7.
5
  See 40 U.S.C. § 3116.

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           interest thereon at an annual rate calculated pursuant to 40 U. S. Code 3116
           (2006), from the date of receipt of the respective deposits by the Defendant[s] to
           the date of repayment into the Registry of the Court.6

This case will terminate upon entry of the final judgment.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 6th day of July 2020.


                                                    ___________________________________
                                                                 Micaela Alvarez
                                                            United States District Judge




6
    Dkt. No. 31 at 2, ¶ 4.c.

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